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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      ABILENE DIVISION

UNITED STATES OF AMERICA,                           §
                                                    §
                                                    §   1:15-CR-025-P
v.                                                  §
                                                    §
RICHARD LOUIS MARTINEZ (3)                          §
                                                    §
                                                    §


                    ORDER ACCEPTING REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE
                             CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent ofthe defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within fourteen

days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge is of the

opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the Court's

scheduling order.

         SO ORDERED.

         Signed this 28th day of September, 2015.




                                                         UNITED STATES DISTRICT JUDGE
